
655 S.E.2d 342 (2007)
In the Interest of C.B., a child.
No. A07A2117.
Court of Appeals of Georgia.
December 4, 2007.
*343 George Arthur Bessonette, Homerville, for Appellant.
Catherine Harris Helms, Dist. Atty., Homerville, for Appellee.
MILLER, Judge.
On February 9, 2007, the Lanier County Juvenile Court adjudicated 11-year-old C.B. delinquent for acts that, if committed by an adult, would have constituted the offenses of aggravated assault and sexual battery. C.B. appeals, challenging the sufficiency of the evidence related solely to the aggravated assault charge. Discerning no error, we affirm.
In considering a challenge to the sufficiency of the evidence supporting an adjudication of delinquency, we view the evidence in favor of the juvenile court's finding, determining only if a reasonable [trier] of fact could have found beyond a reasonable doubt that the juvenile committed the acts charged. In the Interest of M.C.A., 263 Ga.App. 770, 589 S.E.2d 331 (2003); see Jackson v. Virginia, 443 U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979).
In the Interest of K.B.F., 274 Ga.App. 186, 186-187, 617 S.E.2d 153 (2005). So viewed, the evidence shows that on October 2, 2006, C.B.'s mother whipped him with a belt after he threw his new school clothes on the floor and stepped on them. At trial, C.B.'s mother admitted that after the whipping, her son picked up a hammer, but she denied that he ever drew back the hammer or threatened her with it. On the day of the incident, however, C.B.'s mother called the police and signed a written complaint stating that "[a]fter being whipped[, C.B.] picked up a hammer to hit his mother." C.B.'s mother read the complaint at trial and admitted that she had "told what happened to [the police officer], and then he wrote it down, and [she] signed saying . . . that's the way it went that day."
A person commits the offense of aggravated assault when he commits an act placing another in "reasonable apprehension of immediately receiving a violent injury" by the use of "a deadly weapon or with any object . . . which, when used offensively against a person, is likely to . . . result in serious bodily injury." OCGA §§ 16-5-20(a)(2); 16-5-21(a)(2); see also Smith v. Hardrick, 266 Ga. 54, 55(2), 464 S.E.2d 198 (1995). We have previously held that a hammer can be considered a deadly weapon for purposes of an aggravated assault charge. See Gough v. State, 236 Ga.App. 568, 569(1), 512 S.E.2d 682 (1999).
While C.B. claims that no evidence was presented to show that his mother was in reasonable apprehension of immediately receiving a violent injury, such a determination "is a question of fact, which may be established by indirect or circumstantial evidence." (Footnote omitted.) Lemming v. State, 272 Ga.App. 122, 124(1), 612 S.E.2d 495 (2005). Moreover, we must "accept the trial court's findings of fact and credibility determinations unless they are clearly erroneous." (Citation omitted.) Waits v. State, 282 Ga. 1, 5(4), 644 S.E.2d 127 (2007).
Here, a rational trier of fact could have determined that C.B.'s mother called the police based on her reasonable apprehension that her son intended to strike her with the hammer. While C.B.'s mother denied at trial that her son had threatened to hit her with the hammer, the trial court was authorized to discount such testimony in favor of her complaint, *344 which she signed immediately following the incident, and in which she admitted that her son picked up the hammer intending to hit her with it. Viewed in the light most favorable to the trial court's findings, the evidence fully supports the trial court's conclusion that C.B. committed an act that, had it been committed by an adult, would have constituted the offense of aggravated assault. In the Interest of K.B.F., supra, 274 Ga.App. at 187, 617 S.E.2d 153.
Judgment affirmed.
BARNES, C.J., and SMITH, P.J., concur.
